M Gmail                                                  Angeliina Lawson <angeliinalawson@gmail.com>



FW: Courtesy NEF RE: 2020-DM-000131
Ronald Wood <ronwood@ronaldwoodlaw.com>                                      Thu, Apr 24, 2025 at 12:40 PM
To: "Angeliina Lawson (angeliinalawson@gmail.com)" <angeliinalawson@gmail.com>




 From: ks_efile_noreply@kscourts.gov <ks_efile_noreply@kscourts.gov>
 Sent: Thursday, April 24, 2025 12:11 PM
 To: Ronald Wood <ronwood@ronaldwoodlaw.com>
 Cc: Ashley Lowe <ashley@ronaldwoodlaw.com>
 Subject: Courtesy NEF RE: 2020-DM-000131




  ***** IMPORTANT NOTICE - READ THIS INFORMATION *****

                NOTICE OF ELECTRONIC FILING [NEF]



   A filing has been submitted to the court RE: 2020-DM-000131


   Judge: Judge Honorable Eric W Godderz - Division EGODDERZ




  Official File Stamp:           04-24-2025:12:08:52


  Court:                         State of Kansas


                                 Anderson County District Court


                                 In the Matter of the Marriage of Jonathan David Lawson vs Angeliina Lynn
  Case Title:
                                 Lawson
Document(s) Submitted:           Judicial Rejection Order Permitting Withdrawal and Notice of Hearing


Filed By:                        Eric W Godderz


                                 in light of the recent filings and the issues involved in the case, the Court
Note from the Court:             will not approve the order until the hearing date as presently set. I will
                                 address this motion first.




This notice was automatically generated by the courts auto-notification system.



The following people were served electronically:


                                 Ronald Phillip Wood for Angeliina Lynn Lawson


                                 Honorable Eric W Godderz


                                 Jennifer Elizabeth Spangler for Angeliina Lynn Lawson


                                 Andrew Lee Bolton for Dal Lawson


                                 Breanne Christine Hendricks Poe for Jonathan David Lawson


                                 Randall John Abrams-Wharton for Jonathan David Lawson




The following people have not been served electronically by the Court. Therefore, they must be
served by traditional means:
